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                                                                                                                        USOO8521766B1


   (12) United States Patent                                                                   (10) Patent No.:                       US 8,521,766 B1
          Hoarty                                                                               (45) Date of Patent:                           Aug. 27, 2013
   (54) SYSTEMS AND METHODS FOR PROVIDING                                                    2006/0271370 A1* 11/2006 Li ................................. 7041277
           INFORMATION DISCOVERY AND                                                         2007/O130580 A1               6, 2007 Cowell
                                                                                             2007/0198255 A1* 8/2007 Fingscheidt et al. .......... TO4,228
           RETRIEVAL                                                                         2007,0294,084 A1             12/2007 CrOSS
                                                                                             2008, OO15848 A1              1/2008 Arizmendi
   (76) Inventor: W Leo Hoarty, Morgan Hill, CA (US)                                         2008/0027723 A1               1/2008 Reding
                                                                                             2008/0091426 A1               4/2008 Rempel
   (*) Notice:             Subject to any disclaimer, the term of this                       2008/0255844 A1* 10, 2008 Wu ............................... 704/255
                           patent is extended or adjusted under 35                           2009,0192640 A1 ck T/2009 Wold
                           U.S.C. 154(b) by 610 days.                                        2009/03 19957 A1* 12/2009 Blakey ..................... 71.5/854
                                                                                                                    OTHER PUBLICATIONS
   (21) Appl. No.: 12/269,718                                                               Fink, Social and Interactive Television Applications, 2006, 10 pages.
   (22) Filed:             Nov. 12, 2008
                                                                                            * cited by examiner
                     Related U.S. Application Data
                                                                                            Primary Examiner — Uyen Le
   (60) Provisional application No. 60987,368, filed on Nov.
        12, 2007, provisional application No. 61/113,657,
                                                                                            (74) Attorney, Agent, or Firm James J. Ruttler, Michael
                                                                                            Gibbons
        filed on Nov. 12, 2008.
   (51) Int. Cl                                                                             (57)                               ABSTRACT
           Goof 700                          (2006.01)                                      This invention relates generally to Software and computers,
        G06F 7/30                            (2006.01)                                      and more specifically, to systems and methods for providing
   (52) U.S. Cl                                                                             information discovery and retrieval. In one embodiment, the
        USPG                                       707f769: 704/251: 704/275                invention includes a system for providing information dis
   58)     Field fo - - - - -ificati- - - - - -s      h   s           s                     covery and retrieval, the system including a processor mod
   (58)          OSSO Sea                                                                   ule, the processor module configurable to performing the
           SO     lication file f       let      h hist                                     steps of receiving an information request from a consumer
            ee appl1cauon Ille Ior complete searcn n1Story.                                 device over a communications network, decoding the infor
   (56)                         References Cited                                            mation request: discovering information using the decoded
                                                                                            information request; preparing instructions for accessing the
                    U.S. PATENT DOCUMENTS                                                   information; and communicating the prepared instructions to
          6,985,852 B2 1/2006 W.                                                            the consumer device, wherein the consumer device is config
          7.203.645 B2           4/2007 Piriyal                                             urable to retrieving the information for presentation using the
          7,623,823 B2          11/2009 Zito                                                prepared instructions.
    2004/O138877 A1*             7/2004 Ariu .............................. TO4,211
    2006/025343.6 A1* 11/2006 Cook et al. ........................ 707/3                                       30 Claims, 23 Drawing Sheets



                                                   to                             Star

                                                                                                                -->
                                                                                                                        1402
                                                              Receiving an information request, the
                                                               information request including one or
                                                               more of an audio portion and a text
                                                                             portion
                                                                                                                        1404
                                                                                       w
                                                                Enhancing the information request
                                                                                                                        1406
                                                                 Decoding the information request
                                                                                                                        1408
                                                                 Discovering information using the
                                                                   decoded information request                          1410
                                                               Preparing instructions for accessing
                                                                            the information
                                                                                                           ;    : ...
                                                                                                                        1412
                                                                   Communicating the prepared
                                                                              instructions



                                                                                      End
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     FIG. 1                                                                                                                                               CS
                                                                                                                                                      User input
                                     Support                                                                                                          Client 9)
                                   Application
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                ASR                   20.
              Grania                  -                                                                                                  Poe            51
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          Search Engine
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                                                 (Commications                                                                         Computer
                                                    Network                       Media. See: 118                      Bocage



                          Metaciata                                                  Ciest evice
                          Processo                                               Application Server
                              19                                                        44f
Case 2:24-cv-00467-RWS-RSP Document 1-1 Filed 06/24/24 Page 3 of 34 PageID #: 13


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             FG. 2




    Critiricastics




                       Acid           ext input
                     Processing     interpreter
                     Component     Component
                         3              4.
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                                 FG. 3
         literance input
                                                          EGASR                                 SASR          CEGASR


                                                    So     list listerse               Open Context           SeContext
                   Audio Pre-      story
    --             Processing      Processing               30:                                 305              36
    30                     302        33




                                    SASR            Disambiguatio                                             CEGASR


                                                     Senantic revork                                        Set St.-Context
                                                  savigation, disatiguatio
                                                      & rest referee
                                                            3.                                                   3CA


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                                                                                (from Grammar E)
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                                                                     eyes             library
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                                                                                                            Set ten Context
         res          as
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             3

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Case 2:24-cv-00467-RWS-RSP Document 1-1 Filed 06/24/24 Page 5 of 34 PageID #: 15


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          a.           Multi-Channel
                     | Audio, Phase               C        icati
          g:              test
                         asss
                                                   ony Sons                   19.
                            eas                                                                           F Gs 4
       Lamic array
         ;2




                         Citications              Communications
                                                      Server

                                                      202
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                                                            Audio Level                      s    s
                                                                                                              Audio
                                       Forming             Normalization - Aidio Noise                m!| BBandpass Fiter
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                                 (Pass through if not m and Clipping                    | Reduction            p             Processed audio
                                   multicharrel                    election
                                        a;                          42                       43                34.               45
Case 2:24-cv-00467-RWS-RSP Document 1-1 Filed 06/24/24 Page 6 of 34 PageID #: 16
Case 2:24-cv-00467-RWS-RSP Document 1-1 Filed 06/24/24 Page 7 of 34 PageID #: 17


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       F.G. 6
                            arguage       Keyword          Keyword          Keyword
                            Accent      Spotting and     Spotting and     Spotting and
                                        Comparator       Comparator       Comparator
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                                          635 (in                           635 (in



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                                        Comparator      Comparator        Comparatof
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                               83          635 (n)        635 ()             635 (r)
Case 2:24-cv-00467-RWS-RSP Document 1-1 Filed 06/24/24 Page 8 of 34 PageID #: 18


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      FG. 7


                              Action
                                            Keyword          Keyword         Keyword
                             Detection    Spotting and     Spotting and    Spotting and
                                           Comparator      Comparator       Comparator
                                            woc 3             wouis          Module
                                74.
          language,                         635                               835 (in
          Dialect and
            Accent
         Detection and
        Normatization          Media
                                            Keyword          Keyword         Keyword
                              Detection   Spotting and     Spotting and    Spotting and
             600                          Comparator       Comparator      Comparator
                                            Module           wouie            wdue
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          Database
        (Context Free                                        Keyword         Keyword
          Grammar)             Gee
                                          Spotting and     Spotting and    Spotting and
           look-up            Detection
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          litterance                                         Keyword
                               Aisi                                          Keyword
        Disambiguation                    Spotting and     Spotting and    Spotting and
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             250              Detection     Mode              wode           Module
                                744         635 (n)          635 (r)         635 (n)
Case 2:24-cv-00467-RWS-RSP Document 1-1 Filed 06/24/24 Page 9 of 34 PageID #: 19


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     FIG. 8




                                                                                                            1.      Audio same
                                                                                                                         810




                                              WWW Speech signalso                          Moise signal b
                                                      81                                     82                    System continues to record
          Jerarce initialization                                                                                     audio for a short period
                8.                                                                                                  (typically one second to
                                                           iterance Terminatio   - A                                  capture artier noise
                                                                    82                                                         303




                                                                                                                    Audio sample after
                                                                                                                  noise removal by tising
                                                                                                  &-sex
                                                                                                             ?       noisereference
                                                                                                                            sample as
                                                                                       :                                   820
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       FG. 9

        User Device                                                Media Sources
           S-SS               Active Metadata                      —           —
                                     95.

                                  Metadata          35
                                                    saw.




                             -
                                Media Playlist
                                                                   Persona wedia
                                 Ad Playlist
                               Content Access
                                instructions



                                                                  Commercia Media
                                                                          S.
                              Content Retrieval
                                   Engine
                                     S3



                                                                     Advertising
                                                                        33
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     F.G. 1 O

                        CS Cecce
                                                                                                                     H             > (device display
                                                                                                                         3.25

                                                                   M
                                                                                                                                   > Cevice storage
                                                                                         evice Resource
                                              Core Application                             Manager                   32               evice keyboard
                                                    Engine
                                                                                                                                     Device Touch Screer
            attagear                                  320                                    924                     928.
                                                                                                                     929             Device media player
                         Commun-                                                                                         -------
                          ications
                          Interface                    WW                        wo
                                                                                :                              8
           Phoeetwork        3.
                             mom
                                                                                                               8
                                                                                                               8

                102
                                               ena Resource
                                                    Manager                     : User State Manager 8
                                                                                             323
                                                                                                               8

                                                                                3.




                             s                                                       |        ni--- Rights
                                                                                              Digital rs
                         Audio Capture     ext &      ch             iContent               | Management
                         & Processing    input interpreter       Retrieval Engine                  processor
                                                                                     :
                                 93            3.                     380                            985
Case 2:24-cv-00467-RWS-RSP Document 1-1 Filed 06/24/24 Page 12 of 34 PageID #: 22


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     FIG 11
                                   -


              Coa                           Speech Recognition                    Text Entry                                                    Poini a? Click of Touch
                           >
                               J                                                                                                                         Screen
              strine   -                                                            41                                     15
              Device                               119.                                                                                                   112
              1140                                                                       integrated input State Manager
                               &




                                        Consurer        reeferees &         Corse 2 Preferences &             Corsurer 3 references &         Consurer 4 Preferences &
              Sever                                sage                         Usage Pattern                      Usage Pattern                    usage Pattern
                                                    8                                 82                                  83                               84
            Software
              Appli- Y
              cation                   Corasure    Recomercator         Corstner 2 Recoredation            Conser 3 Reconnercation           Cosure 4 Recorneriation
                                                  Engine                           Engine                               Engine                           Engine
               1180                                  85                               88                                   8                               188
                                                                                           Retrieva Engine Application


                                                           Consurer edia atabase                                                   Refererce Database
                                                                      116                                                              162


                                              Media Access System 1                            Media. Access Syster 2                      Media Access Systery in
                                                           10                                          1171                                        173
Case 2:24-cv-00467-RWS-RSP Document 1-1 Filed 06/24/24 Page 13 of 34 PageID #: 23


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            industry-standard
              metadata tags
                                             Active netadata tags,
                                                    contined
                                                                                    FIG. 12   Example metadata tags
                                                                                              as header to media flie
                   205                                                                                1232
               Artisines                        Date format key                               —
                                                                                                       25
              At     rare                       Title format key
                                                                                                industry Standard
                                                                                                 Metadata ags
              release cate                  Audio recording of artist
                                                       ae

                 format                      Audio recording of title
                Composer                    Audio recording of album                                   250
                                                      fare

                 genre                       Audio recording of any                              Active etadata
                                               other tag conterts                                       ags
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          Artist Short Message
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                  Code

        Title Short yiessage Code             Extension eerient
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        3 Party Service Provider                               F Gs 13




                                                                Consumer Storage, Display,
                                                                   or Playback Device




                                                                    Consumer Requesting Device
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                                         FIG. 14


       1400                              .-W.

                 \                              Start
                                                        u/
                                                                            1402

                      Receiving an information request, the
                     | information request including one or
                       more of an audio portion and a text
                                    portion                                 1404
                                                                       u/
                        Enhancing the information
                                        s
                                                  request                   1406
                                                 y                     U/
                        Decoding the information request                    1408

                        Discovering information using the
                           decoded information request             |    , 1410
                                                                       v.
                     | Preparing instructions for accessing
                                  the information                           1412

                          Communicating the prepared
                                    instructions
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          1400
                       \                   ( Start )
         1402 Receiving an information request, the information request including one or
                          more of an audio portion and a text portion
                                                 w

       1404 Enhancing the information request
           14041
           isolating an
                                   14042
                                   Determining a background noise portion of the
           utterance from          information request
           background             r-r-
           noise                                              v
                                   14043
                                   Subtracting the background noise portion from the
                                   information request


                               1406 Decoding the information request
                                                 w

                 1408 Discovering information using the decoded information request

                      1410 Preparing instructions for accessing the information
                                                 w

                           1412 Communicating the prepared instructions
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            14OO                               F.G. 16
                         \                   ( Start
         1402 Receiving an information request, the information request including one or
         more of an audio portion and a text portion

               Receiving an information request including at least an audio portion
               during which a speaker is silent, the audio portion during which a
               speaker is silent representing a background noise portion




               14044
               Using the background noise portion to filter background noise from at
               least an audio portion of the information request including an utterance




                                 1406 Decoding the information request
                                                   w

                   1408 Discovering information using the decoded information request
                                                   y

                        1410 Preparing instructions for accessing the information
                                                   w

                             1412 Communicating the prepared instructions
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          14OO

                       \                         Start )
       1402 Receiving an information request, the information request including one or
       more of an audio portion and a text portion
              14024
             Determining that a background noise portion of the information request
             interferes with processing an utterance



             Alerting a speaker
                  14028
                  Alerting a speaker to move to a quieter location, alerting a
                  speaker to reduce background noise, alerting a speaker to utter
                  the information request again




                               1404 Enhancing the information request                      |
                                                   w

                               1406 Decoding the information request
       —Y
      |
                 1408 Discovering information using the decoded information request
                                                   w

                      1410 Preparing instructions for accessing the information
                                                   y

                           1412 Communicating the prepared instructions
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           14 OO
                          \                             ( Start
          1402 Receiving an information request, the information request including one or
                           more of an audio portion and a text portion

        1404. Enhancing the information request


              14046
              Applying a reference pitch-shift and/or time-shift determined during a prior
              decoding of an information request


                                 1406 Decoding the information request
                                 -------m-m----------




                                                            y
                   1408 Discovering information using the decoded information request

                        1410 Preparing instructions for accessing the information

                              1412 Communicating the prepared instructions
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                                               FIG. 19

        14046
        Applying a reference pitch-shift and/or time-shift determined during a prior decoding
        of an information request
           1902 Determining a reference pitch-shift and/or time-shift
                1904 Receiving an audio sample of at least a known test phrase uttered
                by a speaker


                1906 Transforming the audio sample into a plurality of test samples, each
                test sample including the audio sample shifted in one or more of pitch and
                tim
                   1908 invoking a processor module for transforming the audio sample
                   into a particular test sample, each particular test sample including the :
                   audio sample shifted in one of pitch or time, wherein a plurality of
                   processor modules each perform the steps of transforming the audio
                   sample and establishing a confidence value for an individual test
                   sample, each of the plurality of processor modules performing the
                   steps in parallel with the other processor modules


                1910 Establishing a confidence value for each of the plurality of test
                samples, wherein the establishing a confidence value includes at least
                Comparing each of the plurality of test samples with the known test phrase

                1912 Selecting the test sample with a most favorable confidence value for
                a reference pitch-shift and/or time-shift

                1914 Storing the reference pitch-shift and/or time-shift for subsequent
                decoding
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           14OO                                F.G. 20
                         \                   ( Start )
                                              s- ^
                                                   w
          1402 Receiving an information request, the information request including one or
                               more of an audio portion and a text portion

        1404. Enhancing the information request
           2002
           identifying a reference accent, the reference accent determined during a prior
           decoding of an information request




        1 4 6 D ecoding the information request

           14061
           Decoding the information request including at least speech recognition
           optimized for the reference accent


                  1408 Discovering information using the decoded information request
                                                   w

                       1410 Preparing instructions for accessing the information
                                                   w

                             1412 Communicating the prepared instructions
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                                                                                                FIG. 21


       | 2002
        identifying a reference accent, the reference accent determined during a prior
        decoding of an information request
             2102 Receiving an audio sample of at least a known test phrase uttered by a
              speaker
          &xww.www.www.www.www.www.www.www.www.www.www.www.wwww.www.www.www.www.www.www.www.www.www.www.www.www.www.www.www.www.www.www.www.www.www.www.www.wwww.www.www.www.www.www.www.www.www.wwww.www.www.www.www.




                      2106 Invoking a processor module for transforming the audio sample into
                      a particular test sample and establishing a confidence value for that
                      particular test sample, wherein a plurality of processor modules each
                      perform the steps of transforming the audio sample and establishing a
                      confidence value for a different accent or dialect of a given language, each
                      of the plurality of processor modules performing the steps in parallel with
                      the other processor modules

             2108 Establishing a confidence value for each of the plurality of test samples,
             wherein the establishing a confidence value includes at least recognizing the
             plurality of test samples using a plurality of speech recognition modules, each of
             the plurality of speech recognition modules optimized for a different accent or
             dialect of a given language

              2110 Selecting the accent or dialect of a given language utilized by the speech
              recognition module which recognized the test sample with a most favorable
              Confidence value for a reference accent
          ----------------------------------------------------------------------------"                                                                                                                              .
              2112 Storing the reference accent for subsequent decoding
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          14OO
                                              F.G. 22
                       \                    ( Start )
                                                   v
         1402 Receiving an information request, the information request including one or
                          more of an audio portion and a text portion
                                                   v
                              1404. Enhancing the information request
                                                   w
       1406 Decoding the information request
          14062 Parsing the information request using a first speech recognition process
          to recognize at least a context for further recognition of at least a portion of the
          information request

          14063 Parsing the at least a portion of the information request using at least a
          Second speech recognition process
             14064 Performing the speech recognition process on the at least a portion
             of the information request iteratively to determine one or more of a further
             Context and a keyword, the performing the speech recognition process
             iteratively determining at least a second result
                  14065 invoking at least a processor module to assign in decoding
                  the information request



                 1408 Discovering information using the decoded information request
                                                   v
                      1410 Preparing instructions for accessing the information

                           1412 Communicating the prepared instructions
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                                                                                                           F.G. 23
         1406 Decoding the information request
              14062 Parsing the information request using a first speech recognition process
              to recognize at least a context for further recognition of at least a portion of the
              information request
                       140621 Performing a speech recognition process on the entire information
                       request, the first speech recognition process determining at least a first :
                       result
                                140622 Performing a first                                                                           140623 Performing a first
                                speech recognition process                                                                          Speech recognition process
                                including determining a first                                                                       including determining a first result
                                result selected from an open                                                                        using Statistical Language Model
                                dictionary                                                                                          Automated Speech Recognition
                                                                                                                                    (SLMASR)

              14063 Parsing the at least a portion of the information request using at least a
              second speech recognition process
                       140631 Performing the speech recognition process on the at least a
                       portion of the information request iteratively to determine one or more of a
                       further context and a keyword, the performing the speech recognition
                       process iteratively determining at least a second result
                                 140632 Performing the second                                                                                   140633 Performing a
                                speech recognition process                                                                                      Second speech recognition
                                including determining a second                                                                                  process including Context
                                result selected from a pre-defined                                                                              Free Grammar Automated
                                list of keywords determined by the                                                                              Speech Recognition (CFG
                                context                                                                                                         ASR)

          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Y----------------------------------------------------------------------------




              14064 Disambiguating at least the first result and the second result, the
              disambiguating at least the first result and the second result including
              determining one of the first or second results as a favorable result based upon
              context
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                                                       US 8,521,766 B1
                                 1.                                                                  2
       SYSTEMIS AND METHODS FOR PROVIDING                               The traditional computer keyboard has been established as
           INFORMATION DISCOVERY AND                                 an accepted Substitute for natural language communication
                    RETRIEVAL                                        with a computer. Indeed, as computer devices have decreased
                                                                     in size, much creativity has been expended to similarly reduce
                         PRIORITY CLAIM                              the size of the keyboard. Personal digital assistants and
                                                                     phones are often now equipped with miniature finger sized
      This application claims the benefit of U.S. Provisional keyboards
                                                                     quickly
                                                                                  and Software that awkwardly assists in more
                                                                               turning keystrokes into words. While natural lan
   Application No. 60/987,368 filed Nov. 12, 2007 and U.S. guage speech would               be an easier and more instinctive way to
   Provisional Application No. 61/113,657 filed Nov. 12, 2008. communicate with computers, especially those that are
   The foregoing applications are hereby incorporated by refer 10 Smaller in size, current speech recognition systems are noto
   ence in their entirety as if fully set forth herein.              riously unreliable and limited in word-scope. This is espe
                    FIELD OF THE INVENTION
                                                                     cially true when speech is obscured by background noise,
                                                                     atypically pitched or accented, contains ambiguous terms, or
                                                                     involves proper names. Additionally, current speech recogni
      This invention relates generally to Software and computers, 15 tion systems have difficulty when presented with proper
   and more specifically, to systems and methods for providing names or words not found in a dictionary and adding all
   information discovery and retrieval.                              possible words overwhelms the accuracy of Such systems.
                                                                     Furthermore, the speech recognition systems that offer the
                           BACKGROUND                                best results, while still very limited, require much more pro
                                                                     cessing power than is available on a consumer computer or
      The Internet is rapidly becoming a prime medium for the device. Accordingly, current consumer speech recognition
   distribution of all forms of digital entertainment. The content systems do not serve as a viable substitute for the keyboard.
   available online includes most of the published music cata           Although desirable results have been achieved, there exists
   log, millions of music videos, TV programs, feature films, much room for improvement. What is needed then are sys
   and literally billions of short home videos. This media is 25 tems and methods for providing speech based media retrieval.
   available through a large number of online portals and web
   sites that act as content aggregators. However, each aggrega                                 SUMMARY
   tor has its own rules, interface, and business model. As a
   result, a media consumer is forced to manage a complex set of        This invention relates generally to Software and computers,
   differing interfaces and transaction decisions in order to 30 and more specifically, to systems and methods for providing
   access desired media and experience it on a device of their information discovery and retrieval. In one embodiment, the
   choosing. In contrast, an average TV viewer or radio listener invention includes a system for providing information dis
   uses a single simple interface to locate and select entertain covery and retrieval; the system including a processor mod
   ment. Accordingly, it is currently challenging for a media ule, the processor module configurable to performing the
   consumer to quickly and intuitively search for, locate, 35 steps of receiving an information request from a consumer
   retrieve, and display or play desired media.                      device over a communications network, decoding the infor
      Furthermore, in order to retrieve media, online portals and mation request; discovering information using the decoded
   websites require that the media consumer precisely identify information request; preparing instructions for accessing the
   the desired media, such as by book title or artist name. How information; and communicating the prepared instructions to
   ever, it is often the case that a media consumer does not have 40 the consumer device, wherein the consumer device is config
   this information and instead can only referentially identify urable to retrieving the information for presentation using the
   desired media, Such as an author's latest book, a song that prepared instructions. In an additional embodiment, the
   contains certain lyrics, or a movie featuring a particular actor decoding the information request further includes performing
   or actress. This type of request would be analogous to a hotel speech recognition on the information request using CFG
   guest asking a concierge to fulfill a need without knowing 45 ASR that is assisted by SLMASR. In a further embodiment,
   where to look or even exactly what is being searched for. the performing speech recognition on the information request
   Oppositely to a hotel concierge, however, current online por using CFG ASR that is assisted by SLMASR further includes
   tals and websites would reject these search parameters or performing speech recognition on the information request
   return useless information thereby resulting in consumer dis using CFG ASR against a general grammar module to recog
   satisfaction. Accordingly, it is presently problematic for a 50 nize at least one terminal; determining a context of the at least
   media consumer to locate and acquire desired media when one terminal; performing speech recognition on the informa
   there is uncertainty over the precise identity of the media.      tion request using CFG ASR against a grammar module
      Additionally, online portals, websites, and other software defined by the context; and performing speech recognition on
   applications present media using the traditional desktop file the information request using SLM ASR to supplement the
   and folder or list paradigm thereby placing the burden on the 55 speech recognition performed using CFG ASR.
   media consumer to locate and identify desired media. A
   media consumer is not able to merely make a request for                  BRIEF DESCRIPTION OF THE DRAWINGS
   media and have that media delivered, but instead must expend
   effort to locate the desired media, which may or may not be          Embodiments of the present invention are described in
   embedded within a list of other presented media. Such file and 60 detail below with reference to the following drawings:
   folder or list arrangements have been useful in the past when        FIG. 1 is a system diagram of a multi-modal-consumer
   displays were generous and the Volume of information was input-based information discovery and retrieval system, in
   manageable; however, this presentation method has become accordance with an embodiment of the invention;
   increasingly problematic as available media has exploded and         FIG. 2 is a system diagram of a processing module imple
   device displays have become Smaller. Accordingly, it is cur 65 mented in a multi-modal-consumer-input-based information
   rently not possible for a media consumer to intuitively discovery and retrieval system, in accordance with an
   retrieve desired media by making intuitive requests.              embodiment of the invention;
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     FIG. 3 is a flow diagram of a method for performing dis        mented by any other information, such as that retrieved by
   ambiguation of an information request, inaccordance with an      first responders, military personnel, utility installers and
   embodiment of the invention;                                     repairmen, airplane pilots, scientists, business managers,
      FIG. 4 is a flow diagram of a method for performing audio lawyers, doctors, teachers, or any other similar information.
   pre-processing, in accordance with an embodiment of the             Definition of Media Request. Media request as used herein
   invention;                                                       is intended to mean any request by a consumer for media. The
      FIG. 5 is a flow diagram of a method for performing par media request includes an utterance and is configured to
   allel audio analysis to determine audio processing parameters being packaged within a digital audio file. A media request is
   for enhancing speech recognition accuracy, in accordance a specific type of information request that is presented herein
   with an embodiment of the invention;                          10 for example only; accordingly, the invention is not to be
      FIG. 6 is a flow diagram of a method for performing par limited to media requests as it is also applicable to any type of
   allel speech analysis to determine language model matching information request.
   for enhancing speech recognition accuracy, in accordance            Definition of Context. Context as used herein is intended to
   with an embodiment of the invention;                             mean any field of a media request, such as music, feature
      FIG. 7 is a flow diagram of a method for performing word 15 films, television shows, photography, podcasts, or other simi
   sense disambiguation of an information request, in accor lar field. This usage of context is not to be confused with
   dance with an embodiment of the invention;                       Context Free Grammar Automated Speech Recognition
      FIG. 8 is a data diagram illustrating a method for reducing (CFG ASR), which is an industry term that references a
   noise from audio, in accordance with an embodiment of the        particular type of speech recognition that recognizes words or
   invention;                                                       phrases contained within lists. Statistical Language Model
      FIG. 9 is a system diagram of a consumer device utilizing Automated Speech Recognition (SLM ASR) is another
   delivered active metadata to retrieve media, in accordance       industry term that references a different type of speech rec
   with an embodiment of the invention;                             ognition that recognizes phrases and combinations thereof
      FIG.10 is a system diagram of a client software application after training. For clarity, CFG ASR and SLM ASR will be
   for use in a multi-modal-consumer-input-based information 25 used herein to reference types of speech recognition and
   discovery and retrieval system, in accordance with an context will be used herein to reference a field of a media
   embodiment of the invention;                                       request.
      FIG. 11 is a chart illustrating service layers of a multi      Definition of Consumer Device. A consumer device as
   modal-consumer-input-based information discovery and used herein is intended to mean a mobile phone, personal
   retrieval system, in accordance with an embodiment of the 30 computer, laptop computer, personal digital assistant, Smart
   invention;                                                     phone, music player, television, radio, game console, video
      FIG. 12 is a visual depiction of industry standard metadata recorder, entertainment center, remote control, or any other
   including active metadata, in accordance with an embodi similar device.
   ment of the invention;                                               Definition of and and 'or: The terms and and or as
      FIG. 13 is a system diagram of a multi-modal-consumer 35 used herein are intended to mean either and or 'or' or both
   input-based information discovery and retrieval system       and and 'or.
   facilitating information requests from one consumer device    Any of the methods disclosed herein are configurable to
   for display on another consumer device, in accordance with being implemented using a Software application. Any of the
   an embodiment of the invention; and                         Software applications disclosed herein are configurable to
      FIGS. 14-23 are flow diagrams for various methods and 40 operating on one or more computing devices. Any of the
   alternate embodiments of methods for information discovery methods, software applications, or computing devices dis
   and retrieval, in accordance with varied embodiments of the closed herein can be combined, separated, omitted, or Supple
   invention.                                                         mented.
                                                                        In one embodiment, the invention includes a server soft
                  DETAILED DESCRIPTION                           45 ware application that is accessible via network communica
                                                                    tions by a client software application operating on a consumer
      This invention relates generally to Software and computers, device. Together, the client software application and the
   and more specifically, to systems and methods for providing server Software application cooperate to provide a system for
   information discovery and retrieval. Specific details of certain locating and facilitating the delivery of desired media to the
   embodiments of the invention are set forth in the following 50 consumer device. The system recognizes and disambiguates
   description and in FIGS. 1-13 to provide a thorough under unclear, incomplete, or inaccurate media requests received by
   standing of Such embodiments. The present invention may the consumer device and translates those requests into content
   have additional embodiments, may be practiced without one queries that are used to locate and provide access to the
   or more of the details described for any particular described desired media.
   embodiment, or may have any detail described for one par 55 FIG. 1 is a system diagram of a multi-modal-consumer
   ticular embodiment practiced with any other detail described input-based information discovery and retrieval system, in
   for another embodiment.                                            accordance with an embodiment of the invention. In one
      Definition of Utterance. Utterance as used herein is       embodiment, a client software application (FIG. 9) operates
   intended to mean any audible speech or spoken word or on a consumer device 152-155. A consumer device applica
   words. However, an utterance can readily be substituted or 60 tion server 117 is available to provide supporting applications
   complemented by motion communication, textual communi to any of the consumer device 152-155, such as those to
   cation, graphical user interface interaction, or Some other process and/or play or display media. The client Software
   similar communication.                                        application is configurable to communicate with a communi
     Definition of Media. Media as used herein is intended to         cations server 202 via a communications network 101. Alter
   mean any audio file, video file, image file, text file, or any 65 natively, a phone 151 is configurable to communicate with the
   combination of the foregoing. However, media is intended communications server 202 via a telephone network 102. The
   only as an example and can be readily Substituted or comple communications server 202 is configurable to receive media
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   requests from a consumer through the phone 151 or the con         available to the processor module 210 based on a defined
   Sumer device 152-155 and may simultaneously receive media         context, consumer history, or consumer preferences. The
   requests from a plurality of consumers. For example, the          grammar modules include a list of terminals, such as fewer
   consumer can make a media request by uttering into the            than around 5,000 terminals. The metadata database 111 is
   phone 151 or the consumer device 152-155, “Play the song           configurable to provide information about available media,
    Siempre Hay Esperanzia by Sade.” The media request is             Such as songs, images, music videos, podcasts, movies, tele
   received by the phone or the consumer device 152-155 and is        vision shows, or other similar media to the processor module
   communicated to the communications server 202. In one              210. The metadata database 111 is updated periodically with
   particular embodiment, when using the consumer device 152 available media via a data mining and metadata processor
   155, the media request is captured in a digital form and may 10 110. The data mining and metadata processor 110 examines
   be initialized to normalize Volume, remove noise, perform databases and files systems that contain media to be discov
   bandpass filtering, perform file compression, or perform erable by the system and generates metadata for the media.
   another similar function. In another particular embodiment, The data mining and metadata processor 110 also receives
   when using the phone 151, the media request is communi metadata updates from a multiplicity of commercial and pub
   cated to the communications server 202 where it may be 15 lic Sources known in the art. In addition, the data mining and
   similarly initialized. In a further particular embodiment, the metadata processor 110 generates derived metadata and gen
   media request is in the form of or includes text communica erates relationships among the metadata items based on the
   tion, motion, or graphical user interface interactions. Upon primary metadata obtained from the aforementioned various
   receiving the media request, or even upon initialization of the Sources. The consumerusage database 112 is configurable to
   client Software application, the communications server 202 is retain records of consumer history and preferences for later
   configurable to Verify an identity of the consumer and any recall and use. The recommendation engine 113 is config
   services available to the consumer using a consumer Support urable to create media playlists for the processor module 210.
   system 115. The consumer support system 115 can access a And, the search engine 114 is configurable to conduct tradi
   consumer usage database 112 to retrieve the consumer's tional keyword searches for the processor module 210. Any of
   speech pattern characteristics, usage history, preferences, or 25 the aforementioned support applications can be combined,
   other similar information.                                         omitted, or Supplemented with additional Support applica
      The media request is then queued and allocated to a next tions.
   available processor module 210 for processing. The proces             Upon Successful decoding of the media request, the pro
   Sor module 210 accepts the media request and is configurable cessor module 210 prepares an active metadata response
   to decode the media request through audio preprocessing 30 (FIG. 12) containing a reference to the media content, an
   (FIG. 4) and speech recognition using CFG ASR (FIG. 5) that optional sample of the media content, and access instructions
   is assisted by SLM ASR (FIG. 3). To assist in decoding the for the media content. In one particular embodiment, the
   request, the processor module 210 is configurable to invoke active metadata response further includes a login, password,
   the services of one or more other processor modules 210 in or digital rights management codes for accessing the media.
   series or in parallel. Continuing the aforementioned example, 35 The processor module 210 then becomes available to serve
   a plurality of processor modules 210 may be dynamically another media request. The communications server 202 then
   enlisted approximately in parallel, each having dynamic communicates the active metadata response to the consumer
   access to various context grammar modules, to decode the device 152-155 or the phone 151 via the communications
   media request for “Play the song Siempre Hay Esperanzia            network 101 or the telephone network 102, respectively. In
   by Sade.” For instance, a first available processor module 210, 40 one particular embodiment, the active metadata response is
   accessing a general grammar module, is configurable to rec delivered to the consumer device 152-155 or the phone 151
   ognize the keyword song using CFG ASR and thereby set that initiated the media request. In other embodiments, the
   the context of a second processor module 210 to music. The active metadata response is delivered to a different consumer
   second next available processor module 210, now set in the device 152-155 or phone 151, which can be specified in the
   context of music and accessing a music grammar module, is 45 media request itself, as a user preference, or can be automati
   then configurable to recognize the keyword Sadeusing CFG cally determined. The consumer is then configurable to
   ASR and set the context of a third processor module 210 to review the media referenced in the active metadata response
   music by Sade. The third next available processor module and, if desired, directly access the media from media server
   210, now set in the context of music by Sade and accessing a 116. Such as by pressing a button or a touch screen or other
   music-by-Sadegrammar module, is then configurable to rec 50 wise manifesting intent. The media is then delivered to the
   ognize the keywords Siempre Hay Esperanzia using CFG consumer device 152-155 or phone 151 for consumption
   ASR. Additionally, one or more processor modules 210 is (FIG.9). Alternatively, the active metadata response includes
   configurable to attempt, in series or approximately in parallel, the media itself.
   to recognize one or more keywords of the media request               As referenced Supra, the media request can include a
   through SLMASR to supplement the recognition performed 55 request that the media be delivered to a consumer device
   using CFG ASR. Accordingly, by way of speech recognition 152-155 or phone 151 that is different from the consumer
   using CFG ASR and/or SLMASR, a complex media request device 152-155 or phone 151 that initiates the media request.
   can be decoded without the problems inherent in processing For instance, the media request could be “Make a playlist that
   such a media request using traditional CFG ASR or SLMASR sounds like Celine Dion and send the result to my entertain
   alone.                                                          60 ment center. After decoding and fulfilling the media request,
      Each processor module 210 is also configurable to invoke the communications server 202 can obtain destination
   the services of Support applications via the Support applica instructions from the consumer usage database 112 or the
   tion router 201. The support applications include an ASR consumer device 152-155 or phone 151 and deliver the active
   grammar database 118, a metadata database 111, a consumer metadata response to the entertainment center for consump
   usage database 112, a recommendation engine 113, and a 65 tion.
   search engine 114. The ASR grammar database 118 contains              FIG. 2 is a system diagram of a processing module imple
   grammar modules that are configurable to being dynamically mented in a multi-modal-consumer-input-based information
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   discovery and retrieval system, in accordance with an            word  or phrase. The  active  metadata assembly component
   embodiment of the invention. The processor module 210 280 is configurable to prepare active metadata responses for
   includes a message queue interface 212, a core application delivery to the consumer containing references to the media
   engine 220, an internal resource manager 222, an external requested. The media references are obtainable from the
   resource manager 221, and an application router interface metadata database 111 using the media request as decoded by
   211. The processor module 210 is configurable to receive the CFG ASR or SLMASR.
   media requests from the communications server 202, decode          FIG. 3 is a flow diagram of a method for performing dis
   the media request, obtain references to media satisfying the ambiguation of an information request, inaccordance with an
   media request, and return active metadata responses provid embodiment of the invention. In one embodiment, a media
   ing access to the media to the communications server 202 for 10 request is received at block 301. The media request is then
   delivery to a consumer. The core application engine 220 processed by audio pre-processing at block 302 to remove
   coordinates activities of the processor module 210 and man noise, detect clipping, detect interfering speech, or to perform
   ages the internal resource manager 222 and the external another similar function (FIG. 4). Upon completion of audio
   resource manager 221. The external resource manager 221 is pre-processing, the media request is processed by secondary
   configurable to invoke the services of Support applications 15 audio processing at block 303 to apply learned digital signal
   through an application router interface 211 via the Support processing (DSP) as previously determined (FIG. 5) for per
   application router 201. The support applications include the forming pitch or time shifting or some other similar process to
   ASR grammar database 118, the metadata database 111, the an utterance contained within the media request.
   consumer usage database 112, the recommendation engine             Next, CFG ASR is then performed on the media request at
   113, and the search engine 114. Additionally, the external block 304 against a short list of terminals that represent fre
   resource manager 221 is configurable to invoke via the Sup quently accessed media content or popular artists or media. If
   port application router 201 the services of one or more addi a short list terminal is recognized, instructions are prepared
   tional processor modules 210. The internal resource manager for communication to a consumer device to allow the con
   222 is configurable to communicate with Sub-systems of the Sumer device to retrieve the media content. Otherwise, CFG
   processor module 210, including an audio processing com 25 ASR is then performed on the media request at block 305
   ponent 230, a text input interpreter component 240, a CFG against a general grammar module in order to recognize a
   ASR component 260, a SLF ASR component 270, and an terminal and to determine a first context of the media request.
   active metadata assembly component 280. The sub-systems For example, with the media request “Play the song Siempre
   each perform specialized tasks for processing media requests Hay Esperanzia by Sade', the CFG ASRat block 305 would
   for the processor module 210. For example, the audio pro 30 recognize the terminal “song' and set the first context of the
   cessing component 230 is configurable to remove noise from media request to music. Next, CFG ASR is then performed on
   a media request, detect media requests that are too loud, the media request at block 306 against the first context gram
   detect in coordination with the CFG ASR component 260 mar module in order to recognize another terminal and to
   background speech in a media request (FIGS. 5 and 8), pro determine a second context of the media request. Continuing
   vide pitch or time stretch processing (FIG. 5), or some other 35 the example, with the media request“Play the song Siempre
   similar function. The audio processing component 230 is also Hay Esperanzia by Sade”, the CFG ASR at block 306 per
   configurable to request Support from one or more additional formed against a music grammar module would recognize the
   processor modules 210 to provide parallel pitch or time terminal “play”. Continuing the example further, the CFG
   stretch processing (FIG. 5). The text interpreter component ASR at block 307 performed against a music grammar mod
   240 is configurable to process text input contained within a 40 ule would recognize the terminal "Sade” and set the second
   media request. For example, the text interpreter component context of the media request to be the artist named Sade. Next,
   240 can include multiple predicate recognition logic whereby CFG ASR is then performed on the media request at block
   letters of a word are used to recognize the word (e.g. m 308 against the second context grammar module in order to
   d=Miles Davis or mil=Miles Davis, Miley Cyrus, or Buddy recognize another terminal and to determine any third context
   Miles). The CFG ASR component 260 is configurable to 45 of the media request. Continuing the example further, with
   accessing a grammar module that is dynamically assignable the media request “Play the song Siempre Hay Esperanzia
   based upon a defined context. Any given grammar module by Sade', a Sade grammar module could include albums,
   includes a list of words or phrases (e.g. terminals) that are Songs, music videos, lyrics, or any other terminals related to
   pertinent to a defined context. The CFG ASR component 260 Sade. Thus, the CFG ASR at block 308 performed against the
   is then configurable to perform speech recognition on the 50 Sade grammar module would recognize the terminal "Siem
   media request using CFG ASR to recognize a terminal con pre Hay Esperanzia’. This process can be performed in series
   tained within the dynamically assigned grammar module. or approximately in parallel and can continue as necessary
   The CFG ASR component 260 is also configurable to request depending on the media request. Also, SLM ASR can be
   support from one or more additional processor modules 210 performed on the media request at block 312 in series with or
   to provide speech recognition. For instance, upon recognition 55 approximately in parallel with CFG ASR for supplementation
   of a terminal, the CFG ASR component 260 can request or redundancy. Additionally, text input can be received at
   Support from a second processor module 210 by providing a block 311 as a media request or to Supplement, clarify, or
   context for the recognized terminal and the media request. refine a media request received at block 301.
   The second processor module 210 is then configurable to            The recognized terminals are then disambiguated at block
   access a second grammar module for the context provided by 60 310 into decoded media requests. Disambiguation includes
   the first processor module 210 and to performing speech detecting recognition discrepancies between CFG ASR and
   recognition on the media request using CFG ASR to recog SLMASR and resolving those discrepancies through select
   nize another terminal contained within the second grammar ing a most probable terminal, repeating recognition steps,
   module. Additional processor modules 210 can similarly Sup receiving consumer input, receiving a replacement media
   port the first and second processor modules 210. The SLM 65 request, or other similar action. Additionally, disambiguation
   ASR component 270 is configurable to perform speech rec includes translating media requests that are ambiguous into
   ognition on the media request using SLMASR to recognize a more precise media requests. For example, a media request
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   for “Play Mariah Carey's latest hit would be translated into         FIG. 6 is a block diagram and FIG. 21 is a flow diagram of
   “Play Mariah Carey's Song Touch My Body” to reflect her a method for performing parallel speech analysis 2002 to
   current hit of “Touch My Body.' Media is then discovered determine language model matching for enhancing speech
   using the decoded media request and active metadata is pre recognition accuracy, in accordance with an embodiment of
   pared and communicated to a consumer device providing 5 the invention. In one embodiment, at 2102 the method for
   access instructions for retrieving the media.                     performing parallel speech analysis includes receiving digital
      FIG. 4 is a flow diagram of a method for performing audio audio containing a test utterance from a consumer at block
   pre-processing, in accordance with an embodiment of the 500.            The digital audio is distributed in parallel at 2104 to a
                                                                     plurality of speech recognition systems 631. Each speech
   invention. In one embodiment, digital audio containing a 10 recognition
   media request is received from a consumer device 151 or any 2106 havingsystem           631 is optimized to recognize speech at
                                                                                    a unique accent or dialect for a given language
   microphone 402, including multiple microphones in an array,       (e.g. English with Chinese Accent or English with Southern
   over a communications network 101 at a communications
                                                                     accent). And, the speech recognition systems 631 can be
   server 202. The digital audio also includes a sample of ambi optimized to recognize speech for a plurality of foreign lan
   ent noise received from the consumer device 151 (FIG. 8). If is guages. Each corresponding speech recognition system 631
   a multiple microphone array is utilized, the multiple sources then attempts to recognize the test utterance contained in the
   of digital audio are processed by block 410 to perform beam received digital audio using ASR and outputs a confidence
   forming to locate and focus the sensitivity of the array upon level at 2108 representing quality of recognition. At 2110, the
   the desired speaker or reject audio from other and possibly speech recognition system 631 having the highest confidence
   interfering Sources. If a single microphone is utilized, the 20 level is identified along with the corresponding identity of the
   digital audio signal of the single microphone is not further accent, dialect, or language optimized for that speech recog
   processed by block 410 but passes through unmodified to nition system 631. The accent, dialect, or language identity is
   block 420. At block 420, the digital audio is normalized to an then storable for the consumer at 2112 and automatically
   average level and clipping is detected. Audio noise reduction recallable to optimally recognize Subsequent media requests
   is then performed at block 430 using the sample of ambient 25 by the consumer at 14061 (FIG. 20). Accordingly, the parallel
   noise contained in the digital audio as a reference, whereby speech analysis may be performed during initial consumer
   noise similar to the ambient noise is removed from the digital setup or during each instance of media request.
   audio. At block 440, the digital audio is band-limited to            FIG. 7 is a flow diagram of a method for performing word
   remove undesirable lower and upper frequency components sense disambiguation of an information request, in accor
   and to match the acoustic model bandwidth of a speech rec- 30 dance with an embodiment of the invention. FIG. 7 provides
   ognition system.                                                  an additional perspective of the process illustrated and
      FIG. 5 is a block diagram and FIG. 19 is a flow diagram of described with reference to FIG. 3.
   a method for performing parallel audio analysis to determine         FIG. 8 is a data diagram illustrating a method for reducing
   audio processing parameters at 1902 for enhancing speech noise from audio, in accordance with an embodiment of the
   recognition accuracy, in accordance with an embodiment of 35 invention. In one embodiment, a consumer device begins
   the invention. In one embodiment, at 1904 the method for          receiving audio upon initialization by a consumer at 801. The
   performing parallel audio analysis includes receiving digital consumer device then receives a speech signal 811 containing
   audio containing a test utterance from a consumer at block a media request uttered by the consumer. The consumer
   450. The digital audio is distributed in parallel at 1906 to a device then receives a termination indication from the con
   plurality of digital signal processing (DSP) modules 510. 40 Sumer at 802. However, the consumer device continues
   Each DSP module 510 is configurable at 1908 to uniquely receiving a noise signal 812 for a specified period ending at
   shift the pitch of the digital audio without modifying the 803. Accordingly, the consumer device receives audio con
   duration and/or the duration of the digital audio without taining the speech signal 811 and the noise signal 812 as
   modifying the pitch by a predetermined amount and to com illustrated in 810. Digital signal processing is then applied to
   municate the shifted digital audio to a corresponding speech 45 remove the noise signal 812 from the speech signal 811 to
   recognition system 520. One DSP module 510 preserves the render a clearer speech signal as illustrated in 820. Alterna
   original digital audio without any pitch or time shifting. tively, the method can be used to detect excessively loud noise
   Accordingly, the digital audio is incrementally shifted over a or third-party speech, which would be captured in the noise
   range of pitches (e.g. 50 Hz, steps) and/or times (e.g. 10% signal 812, and/or to deliver a recommendation to the con
   steps) by a plurality of DSP modules 510 with each shifted 50 Sumer to move to a quieter location.
   digital audio being communicated to a corresponding speech           FIG. 9 is a system diagram of a consumer device utilizing
   recognition system 520. Each corresponding speech recogni delivered active metadata to retrieve media, in accordance
   tion system 520 attempts to recognize the test utterance con with an embodiment of the invention. In one embodiment, the
   tained in the shifted digital audio using ASR and at 1910 consumer device151-155 includes a media player and a client
   outputs a confidence level 590 representing quality of recog- 55 900 having a content retrieval engine 980. The client 900 is
   nition. At 1912, the speech recognition system 520 having the configurable to receive active metadata 950 as a result of a
   highest confidence level 590 is identified along with the cor media request (FIG. 1). The active metadata 950 includes
   responding values of the pitch and time shift for that speech metadata 951, a media playlist952, an ad playlist953, andac
   recognition system 520. The DSP modules 510 are then cess instructions 954. Notably, in one embodiment, the active
   released into an available pool for receiving Subsequent digi- 60 metadata 950 does not include media content itself, but
   tal audio. The optimal pitch and time shift values are then instead includes information about the media content and
   storable for the consumer at 1914 and automatically recall instructions for accessing the media content if desired. Thus,
   able to optimally adjust Subsequent media requests by the the metadata 951 includes information native to media con
   consumer (FIG. 2,230 and FIG. 3,303, and FIG. 18, 14046). tent as that supplied by a publisher. The media playlist 952
   Accordingly, the parallel audio analysis processing may be 65 includes a list of media content and the ad playlist 953
   performed during initial consumer setup or during each includes a list of advertisements. The access instructions 954
   instance of media request.                                        include instructions for retrieving media content or advertise
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   ments from media sources 975, which include personal              retrieving media content on a consumer device. The metadata
   sources 977 and commercial sources 116 or 976. The access         1252 is returned to a consumer device as a result of a media
   instructions 954 can include an Internet address, login infor     request (FIG. 1). The industry standard metadata 1205, such
   mation, password information, digital rights management           as industry standard metadata ID3 as used for media storage
   keys or access codes, or other similar information. However,      files such as MP3 or MP4, can include artist name, album
   in one particular embodiment, the active metadata 950 does       name, title, release date, format, composer, genre, beats per
   include a truncated version of the media content for initial     minute, sample rate, and others. This metadata includes fields
   consumer review (FIG. 12).                                       that are typically included by media publishers for the media
      Upon receiving the active metadata 950, the client 900 is
   configurable to present the metadata 951, the media playlist 10 content   and read by media playback systems such as those
                                                                    found in consumer devices. The active metadata 1250 can be
   952, the add playlist 953, and any truncated version of the added to the industry standard metadata 1205 and can include
   media content using the media player. Because the active ASR grammar codes 1255; short text string matching codes
   metadata 950 appears to be an ordinary media file having a 1260; information formatting codes 1265 for formatting a
   format and type as expected by a traditional media player, an
   existing media player on the consumer device 151-155 is 15 consumer device display; embedded audio recordings 1270
   usable. Therefore, the media playlist 952 and the metadata the   for providing an audible representation of data contained in
   951 are reviewable along with any truncated versions of the          standard metadata 1205 or active metadata 1250 such as
   media content. When media content is desired, the content        for confirmation, safety, or educational purposes; access
   retrieval engine 980 utilizes the access instructions 954 of the instructions 1275 for automatically retrieving upon request
   active metadata 950 to retrieve the media content and any the media content referenced by the active metadata 1250.
   advertisements from the media sources 975. In one particular Such as a URL, URI, login, password, digital rights manage
   embodiment, the truncated version of the media content on        ment access keys, or digital rights management rules regard
   the consumer device 151-155 is initially presented while the ing sharing or copying; playlist items 1280 for providing a list
   media content is retrieved from the media sources 975 and the    of related media content Such as those to be sequentially
   retrieved media content is then presented upon termination of 25 presented with the media content; miscellaneous information
   the truncated version, thereby facilitating a seamless presen 1285 Such as an artist biography, graphics, or lyrics related to
   tation of the media content on the consumer device 151-155.      the media content; and extension information 1290 for refer
       FIG.10 is a system diagram of a client software application ences to or access instructions for information that would
   for use in a multi-modal-consumer-input-based information otherwise overflow formatting limits of the tags such as a
   discovery and retrieval system, in accordance with an 30 music video performance for a song type of media content.
   embodiment of the invention. The client software application The truncated media content 1251 can include the media
   is configurable to implement various embodiments described content itselfor a truncated version of the media content. The
   in reference to FIG. 9 Supra.                                    truncated version of the media content can be a trailer for
       FIG. 11 is a chart illustrating service layers of a multi marketing purposes, a short section to aid in identifying the
   modal-consumer-input-based information discovery and 35 media content such as through time and frequency domain
   retrieval system, in accordance with an embodiment of the matching, or as an initial segment of the media content for
   invention. In one embodiment, a media request is received by initial playback while access to the complete media content is
   a consumer device 1140. The media request is communicated performed.
   to a server software application 1150 that accesses consumer        FIG. 13 is a system diagram of a multi-modal-consumer
   specific preferences and usage patterns to assist in decoding 40 input-based information discovery and retrieval system
   the media request. The decoded media request is fulfilled by facilitating information requests from one consumer device
   accessing consumer and commercial media reference data for display on another consumer device, in accordance with
   bases 1160 and 1162 and returning to the consumer device an embodiment of the invention. In one embodiment, a con
   1140 active metadata. The consumer database 1160 can             Sumer device 1301 is configurable to receive a media request
   include media references for media content on the consumer 45 and communicate the media request to a server Software
   device generating the media request or on a plurality of con application 1302 that decodes the media request (FIG.1). The
   Sumer devices different from the consumer device generating server software application 1302 uses the decoded media
   the media request, which may be owned by different consum request to prepare active metadata for retrieving the media
   ers. The commercial reference database 1162 includes media       content and communicates the active metadata to a third party
   references for media content on any computer other than a 50 service provider 1303, such as a cable provider. The identity
   consumer device. The active metadata is used by the con of the third party service provider 1303 can be included in the
   Sumer device 1140 or a different consumer device to access       media request or can be based on Stored consumer prefer
   and retrieve media content over local or wide area networks      ences. The third party service provider 1303 then uses the
   1170 or 1171, which may be streamed. In one particular active metadata to retrieve the media content and communi
   embodiment, the consumer device 1140 includes a multi 55 cate the media content to a consumer device 1304 for presen
   modal user interface including speech recognition, text entry, tation, which is different from the consumer device 1301.
   gesture sensing, and a point/click or touch screen. In another Accordingly, a consumer can utter a media request for “Let’s
   particular embodiment, the server software application 1180 see the first Star Wars movie.” The media request can be
   is configurable to enable multiple consumer use of a single received by a remote control device and communicated to the
   consumer device. Different preferences, usage patterns, and 60 server software application. The server software application
   recommendations are tracked and applied for each of the can decode the media request, prepare active metadata for
   COSU.S.                                                          accessing the first Star Wars movie, identify from consumer
       FIG. 12 is a visual depiction of industry standard metadata preferences the third party service provider, and communi
   including active metadata, in accordance with an embodi cate the active metadata to the third party service provider.
   ment of the invention. In one embodiment, metadata 1252 65 The third party service provider can then retrieve the first Star
   include industry standard metadata 1205, active metadata Wars movie and communicate. Such to the consumer's cable
   1250, and truncated media content 1251 for reviewing and box for viewing.
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      In another embodiment, the server software application            In an additional embodiment, the system facilitating facili
   1304 can communicate the active metadata directly to the tates speech recognition training using previous voice
   consumer device 1304, which can be specified in the media samples within a constrained grammar module or modules.
   request or obtained from Stored consumer preferences. In a           In another embodiment, the system establishes filters
   related embodiment, the server software application 1304 can 5 through consumer usage for identifying media content of
   communicate active metadata directly to the consumer device typical interest and prioritizing Such content by relevance and
   1304 that is configurable to retrieve media content from a size. The filters can be established automatically or by or with
   different consumer device than that receiving the media the aid of human intervention, such as playlists for particular
   request. For example, a consumer can utter a media request musical styles as compiled by professional DJs. The filters
   for “Display pictures from my trip to Europe located on my 10
   home computer on my digital frame'. The media request can can          refined continuously depending on variables such as a
                                                                     confidence   of the level of interest, frequency of consumption,
   be received by a personal digital assistant and communicated or a consumer         rating value.
   to the server software application. The server software appli
                                                                        In  yet a further
   cation can decode the media request, identify from consumer cifically adapted for      embodiment, the consumer device is spe
   preferences the home computer and digital frame network 15                                usage with the server Software applica
   address, prepare active metadata for accessing the pictures       tion  (FIG.  1) and  may   have attributes similar to that of the
   from the home computer, and communicate the active meta           iPODR     by APPLE(R).
   data to the digital frame. The digital frame can then retrieve       In yet another embodiment, the system employs a plurality
   the pictures from the home computer and present them for of industry standard or proprietary speech recognition sys
   viewing. Indeed other media requests can be as follows: “Put temS.
   the picture of the girls riding horses at camp last Summer on        In a further embodiment, the system establishes a virtual
   my office picture frame”; “Display pictures of our trip to directory of available media for which local and remote
   Mexico last spring in the family room': or “Send pictures media is mapped thereby allowing access to media from a
   from my trip to Arizona to Frank's email.”                        plurality of possibly disparate locations without requiring
      In one embodiment, the system takes a misspelling con 25 that a media request specifically identify that location.
   tained within a media request and translates it into a phonetic      In a different embodiment, the system establishes a media
   transcription.                                                    asset “finger print’ unique identifier, whereby the finger print
      In another embodiment, the system provides a grammar includes media attributes Such as music, tempo, pitch range,
   module containing a short list of terminals based upon the file name, file length, file size, creation date or time, network
   context of a previous media request. The context of a previous 30 location, or other similar identifiers. The finger print can be
   media request can be retained for a predetermined period of used to establish the virtual directory of available media.
   time or until another action supersedes the context. For             In an additional embodiment, the system establishes a
   example, a media request for “Show me my Miles Davis grammar module using XML containing the terminals.
   albums' would resultinalist of Miles Davis albums. A follow          In yet an additional embodiment, the system includes a
   up media request for “Play Kind of Blue' or “KO B would 35 resource management system to dynamically configure the
   result in recognition of Kind of Blue by Miles Davis because resources that are dynamically assigned for each received
   the grammar module contained terminals related to the con media request to optimize the amount of server processing
   text of Miles Davis albums as previously requested. As power required to Support the media request.
   another example, a media request for "Show me Eagles                 In another embodiment, the system provides a virtual envi
   Albums' would result in a list of Eagles albums. A follow up 40 ronment for each consumer device and media request that
   media request for “Play Greatest Hits' or “GH would result consumes Small resources and while a consumer device is
   in recognition of greatest hits by the Eagles because the inactive and that expands to consume up to all available
   grammar module contained terminals related to the context of resources while a consumer device is active.
   Eagles albums as previously requested. Another example               In a further embodiment, the system creates relationships
   would be a media request for “Play KIIS FM followed up by 45 among media content such as artists’ songs using a graphical
   a media request for “Remove the Rap' followed up by a representation of a media database based on genre (and Sub
   media request for “Add some Mariah Carey', which would genre) labels. A graph is generated based on frequency of
   result in a radio station playing without rap and with Mariah occurrence of each genre type which defines a diameter of a
   Carey music intermittently added.                                 circle representing the genre. A thickness of the circumfer
      In another embodiment, the system customizes terminals 50 ence of the circle represents a frequency for which the genre
   of a grammar module based on Voice or textual spelling of a is accessed by a consumer. Relationships between artists or
   term. For example, a media request for music by an obscure between different titles by artists can be graphed based on
   garage band may require that the consumer provide a spelling trigonometric identities plotted by calculating circumference
   of a term or terms within the media request. The spelled term and thickness of circumference where thickness represents
   or terms are then used to provide a more focused list of 55 inertia of the system to exit that genre type and transition to
   terminals within a grammar module for speech recognition another genre type. The system can plot relationships
   purposes.                                                         between artists or relationships between Songs based on a
      In yet a further embodiment, the system repeats the process single consumers habits or a large or Small group of consum
   for decoding a media request using different grammar mod ers or a combination of the foregoing.
   ules, filters, or signal processing after an unsuccessful 60 In an alternative embodiment, the system provides for
   attempt.                                                          matching utterances with existing metadata using tag clouds.
      In an alternative embodiment, the system prioritizes a con In a related embodiment, the system provides for matching
   fidence level associated with a particular identified terminal utterances with existing metadata using probabilistic match
   depending on the consequences of acting upon it. For ing based on prior Successful matches, prior consumerusage,
   example, misunderstanding an artist name would be more 65 rules derived from a representative ontology (for music, pod
   acceptable than turning up the Volume too far through a casts, photos, videos, etc), or rules derived from fuzzy logic
   misinterpretation of a device operation command.                  evaluation systems.
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                                15                                                                  16
      In a further embodiment, the system provides for combin            access instructions for the referenced information, the
   ing active tags with industry standard tags associated with             access instructions including any of a login, password,
   media content to establish active metadata, whereby the                 and digital rights management code for use with the
   active tags include speech recognition grammar fields or                third party source.
   short-text matching fields for use with recalling the media 5        5. The method of claim 1, further comprising communi
   COntent.                                                          cating the prepared instructions to a consumer device differ
      In an additional embodiment, the system provides training ent from a requesting consumer device.
   for open grammar recognition while processing constrained            6. The method of claim 1, wherein the information request
   grammar recognition. The constrained grammar recognition is a media request and the information is media.
   provides known pattern matches that can be used for training 10 7. The method of claim 1, wherein the decoding the infor
   the open grammar recognition. Accordingly, while a con mation request comprises:
   Sumer is initially using the system, utterances contained            isolating an utterance from background noise.
   within media requests are applied to open grammar recogni            8. The method of claim 1, wherein the decoding the infor
   tion along with a result from the constrained grammar recog mation request comprises:
   nition. With continued usage, the open grammar recognition 15 determining a background noise portion of the information
   is improved.                                                            request; and
      In a further embodiment, the system provides a context            Subtracting the background noise portion from the infor
   manager application that directs media requests to the ASR              mation request.
   with a context appropriate grammar module. The context               9. The method of claim 1, wherein the receiving an infor
   manager application reduces false positives that could occur mation request comprises:
   when a plurality of grammar modules are simultaneously               receiving an information request including at least an audio
   applied to a media request. In a related embodiment, Success            portion during which a speaker is silent, the audio por
   ful speech recognition results are fed back to the context              tion during which a speaker is silent representing a back
   manager application, which then further directs media                   ground noise portion.
   requests based on past Successes.                              25    10. The method of claim 9, wherein the decoding the infor
      In another embodiment, the system provides for creating a mation request comprises:
   new grammar module from terminals previously recognized.            using the background noise portion to filter background
      While preferred and alternate embodiments of the inven               noise from at least an audio portion of the information
   tion have been illustrated and described, as noted above,               request including an utterance.
   many changes can be made without departing from the spirit 30 11. The method of claim 1, wherein the decoding the infor
   and scope of the invention. Accordingly, the scope of the mation request comprises:
   invention is not limited by the disclosure of these preferred        determining that a background noise portion of the infor
   and alternate embodiments. Instead, the invention should be             mation request interferes with processing an utterance;
   determined entirely by reference to the claims that follow.             and
                                                                  35    alerting a speaker.
      What is claimed is:                                               12. The method of claim 11, wherein the alerting a speaker
      1. A method, comprising:                                       comprises one or more of alerting a speaker to move to a
      receiving an information request;                              quieter location, alerting a speaker to reduce background
      decoding the information request;                              noise, and alerting a speaker to utter the information request
      discovering information using the decoded information 40 again.
         request;                                                       13. The method of claim 1, wherein the decoding the infor
      preparing, using one or more processing devices instruc mation request comprises:
         tions for accessing the information, the instructions          applying one or more of a pitch-shift or a time-shift to the
         including:                                                        information request.
         one or more Automatic Speech Recognition (ASR) 45 14. The method of claim 13, wherein the applying one or
            grammar codes;                                           more of a pitch-shift or a time-shift to the information request
         one or more short text string matching codes; and           comprises:
         one or more information formatting codes operative to          applying a reference pitch-shift and/or time-shift deter
            format a consumer device display; and                          mined during a prior decoding of an information request.
      communicating the prepared instructions.                    50    15. The method of claim 14, wherein the prior decoding of
      2. The method of claim 1, wherein the discovering infor an information request comprises:
   mation using the decoded information request comprises:              determining a reference pitch-shift and/or time-shift,
      accessing a database, the database configured at least for           including:
         containing references to information available from a             receiving an audio sample of at least a known test phrase
         third party source; and                                  55          uttered by a speaker,
      identifying a reference to the information.                          transforming the audio sample into a plurality of test
      3. The method of claim 2, wherein the preparing, using one              samples, each test sample including the audio sample
   or more processing devices, instructions for accessing the                 shifted in one or more of pitch and time;
   discovered information comprises:                                       establishing a confidence value for each of the plurality
      preparing instructions for accessing the referenced infor 60            of test samples, wherein the establishing a confidence
         mation from the third party source.                                  value includes at least comparing each of the plurality
      4. The method of claim 3, wherein the prepared instruc                  of test samples with the known test phrase;
   tions are contained within an active metadata file, the active          Selecting the test sample with a most favorable confi
   metadata file further comprising:                                          dence value for a reference pitch-shift and/or time
      an identity of the referenced information:                  65          shift; and
      a location of the referenced information;                            storing the reference pitch-shift and/or time-shift for
      a sample of the referenced information; and                             Subsequent decoding.
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      16. The method of claim 15, wherein the transforming the information request iteratively to determine one or more of a
   audio sample into a plurality of test samples, each test sample further context and a keyword comprises:
   including the audio sample shifted in one or more of pitch and         invoking at least a processor module to assist in decoding
   time comprises:                                                           the information request.
      invoking a processor module for transforming the audio              23. The method of claim 21, wherein the first speech rec
         sample into a particular test sample, each particular test ognition process comprises:
         sample including the audio sample shifted in one of              performing a first speech recognition process on the entire
        pitch or time,                                                       information request, the first speech recognition process
      wherein a plurality of processor modules each perform the
         steps of transforming the audio sample and establishing 10 24.determining         at least a first result.
        a confidence value for an individual test sample, each of speech recognitionofprocess
                                                                              The   method      claim 23, wherein the performing a first
                                                                                                        comprises:
        the plurality of processor modules performing the steps           performing    a first  speech   recognition process including
        in parallel with the other processor modules.                        determining   a  first result selected from an open dictio
      17. The method of claim 1, wherein the decoding the infor              nary.
   mation request comprises:                                         15
      identifying a reference accent, the reference accent deter speech   25. The method of claim 23, wherein the performing a first
        mined during a prior decoding of an information request,                recognition process comprises:
        the prior decoding of an information request including:           performing a first speech recognition process including
        receiving an audio sample of at least a known test phrase            determining a first result using Statistical Language
           uttered by a speaker,                                             Model Automated Speech Recognition (SLMASR).
        transforming the audio sample into a plurality of test            26. The method of claim 21, wherein the second speech
            samples:                                                    recognition process comprises:
        establishing a confidence value for each of the plurality         performing the second speech recognition process includ
           of test samples, wherein the establishing a confidence            ing determining a second result selected from a pre
           value includes at least recognizing the plurality of test 25      defined list of keywords determined by the context.
            samples using a plurality of speech recognition mod           27. The method of claim 21, wherein the second speech
           ules, each of the plurality of speech recognition mod recognition process comprises:
           ules optimized for a different accent or dialect of a          performing a second speech recognition process including
           given language;                                                   Context Free Grammar Automated Speech Recognition
         Selecting the accent or dialect of a given language uti 30          (CFG ASR).
           lized by the speech recognition module which recog             28. The method of claim 21, further comprising:
           nized the test sample with a most favorable confi              disambiguating at least the first result and the second result,
           dence value for a reference accent; and                           the disambiguating at least the first result and the second
         storing the reference accent for Subsequent decoding.               result including determining one of the first or second
      18. The method of claim 17, wherein the transforming the 35            results as a favorable result based upon context.
   audio sample into a plurality of test samples comprises:               29. A system for providing information discovery and
      invoking a processor module for transforming the audio retrieval, the system comprising:
         sample into a particular test sample and establishing a          a processor module, the processor module configured at
        confidence value for that particular test sample,                    least for performing the steps of:
      wherein a plurality of processor modules each perform the 40           receiving an information request from a consumer
         steps of transforming the audio sample and establishing                device over a communications network;
        a confidence value for a different accent or dialect of a            decoding the information request;
        given language, each of the plurality of processor mod               discovering information using the decoded information
        ules performing the steps in parallel with the other pro                request;
        cessor modules.                                              45      preparing instructions for accessing the information, the
      19. The method of claim 17, wherein the decoding the                      instructions including:
   information request further comprises:                                       one or more Automatic Speech Recognition (ASR)
      decoding the information request including at least speech                   grammar codes;
        recognition optimized for the reference accent.                         one or more short text string matching codes; and
      20. The method of claim 1, wherein the decoding the infor 50              one or more information formatting codes operative
   mation request comprises:                                                       to format a consumer device display; and
      parsing the information request using a first speech recog             communicating the prepared instructions to the con
        nition process to recognize at least a context for further              Sumer device,
        recognition of at least a portion of the information              wherein the consumer device is configured at least for
        request; and                                                 55      retrieving the information for presentation using the pre
      parsing the at least a portion of the information request              pared instructions.
        using at least a second speech recognition process.               30. A computer program product comprising one or more
      21. The method of claim 20, wherein the parsing the at least non-transitory computer readable media bearing one or more
   a portion of the information request using at least a second instructions for:
   speech recognition process comprises:                             60   receiving an information request;
      performing the speech recognition process on the at least a         decoding the information request;
        portion of the information request iteratively to deter           discovering information using the decoded information
        mine one or more of a further context and a keyword, the             request:
        performing the speech recognition process iteratively             preparing instructions for accessing the information, the
        determining at least a second result.                        65      instructions including:
      22. The method of claim 21, wherein the performing the                 one or more ASR grammar codes;
   speech recognition process on the at least a portion of the               one or more short text string matching codes; and
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       one or more information formatting codes operative to
         format a consumer device display; and
     communicating the prepared instructions.
                       k   k   k   k   k
